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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,                Case No. 2:14-MJ-00067-BAT

10          v.                                              DETENTION ORDER

11 GUILLERMO CARDENAS-VALDOVINOS,

12                                Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14 there are no conditions which the defendant can meet which would reasonably assure the

15 defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          The Court received no information from defendant in support of release and he has

18 therefore failed to overcome the presumption of detention that attaches with pending charges.

19 The Pretrial report also indicates he has been previously convicted of re-entry of a removed

20 alien. In addition, defendant stipulated to detention.

21          It is therefore ORDERED:

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     DETENTION ORDER - 1
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 1          (1)    Defendant shall be detained pending trial and committed to the custody of the

 2 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 3 from persons awaiting or serving sentences, or being held in custody pending appeal;

 4          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 5 counsel;

 6          (3)    On order of a court of the United States or on request of an attorney for the

 7 Government, the person in charge of the correctional facility in which Defendant is confined

 8 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 9 connection with a court proceeding; and

10          (4)    The Clerk shall provide copies of this order to all counsel, the United States

11 Marshal, and to the United States Probation and Pretrial Services Officer.

12          DATED this 24th day of February, 2014.

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14                                                               A
                                                         BRIAN A. TSUCHIDA
15                                                       United States Magistrate Judge

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     DETENTION ORDER - 2
